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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                )
LILIAN PAHOLA CALDERON JIMENEZ                  )
and LUIS GORDILLO, et al.,                      )
                                                )
Individually and on behalf of all others        )
                                                    No. 1:18-cv-10225-MLW
similarly situated,                             )
                                                )
               Plaintiffs-Petitioners,          )   DECLARATION OF COLLEEN M.
                                                )   MCCULLOUGH IN SUPPORT OF
       v.                                       )   PETITIONERS’ SUPPLEMENT
                                                )   TO THEIR JUNE 5, 2019 REPORT
KEVIN McALEENAN, et al.,                        )
                                                )
               Defendants-Respondents.          )
                                                )

       I, Colleen M. McCullough, declare as follows:

       1.      I am an attorney with the firm of Wilmer Cutler Pickering Hale and Dorr LLP,

counsel for the Petitioners in the above-captioned matter. I am an attorney licensed to practice in

the Commonwealth of Massachusetts. I am over the age of eighteen and I have personal

knowledge of the facts set forth in this declaration. If called as a witness, I could and would

competently testify thereto. I submit this Declaration in support of Petitioners’ Supplement to

their June 5, 2019 Report.

       2.      Attached hereto as Exhibit A is a true and correct redacted copy of a January 30,

2018 e-mail chain produced by Respondents at ICE-0001645 through ICE-0001647, which has

been designated as Confidential pursuant to the Stipulated Protective Order, Dkt. No. 119.

Pursuant to Section 4.3 of the Stipulated Protective Order, Petitioners have redacted certain

names and other sensitive personal information at Respondents’ request. The attached Exhibit A

is the same document as the Exhibit A that Petitioners filed at Dkt. 262-1, but with certain

redactions removed.
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       I declare under penalty of perjury that, to the best of my knowledge and belief, the facts

set forth above are true and correct.

       Executed this 7th day of June, 2019, in Boston, Massachusetts.



                                                     /s/ Colleen M. McCullough
                                                     Colleen M. McCullough (BBO # 696455)
                                                     Wilmer Cutler Pickering Hale and Dorr LLP
                                                     60 State Street Boston, MA 02109
                                                     Tel.: (617) 526-6000
                                                     Fax: (617) 526-5000
                                                     Email:colleen.mccullough@wilmerhale.com




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